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August 17, 2001

Hon. Anthony O. Calabrese, Jr. -
Judge of the Superior Court

Justice Center

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Cuyahoga County Prosecutor's Office
1200 Ontario St., 9th Floor
Cleveland, Ohio, 44113

Re: Ohio v. Anthony Green
Court No. CR 228250
Our File No. 00-731
On Habeas Corpus

Report
Background

The following information was communicated to us by Jason Miller,
law student at The Innocence Project: The Green case involves a sexual
assault in which the victim is Jennifer Tennant, and the convicted defendant
is Anthony Green. Green was convicted of the Tennant rape and aggravated
robbery in a Cuyahoga County, Ohio, jury trial on October 21, 1988, and
sentenced to 50 years in prison,

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On or about May 29, 1988, Jennifer ‘Tennant was attacked in her room at
the Cleveland Clinic Hotel. Ms. Tennant was a resident at this hotel while
she was receiving medical treatment for cancer. Late on the evening of May
29 an assailant knocked on Tennant’s room door; and when she opened it,
the assailant grabbed her by the throat, threatened her with a knife, and forced
her onto her bed. Initially the assailant demanded money from her purse.
Next the assailant demanded that she remove her clothing whereupon she
was raped. After raping Tennant, the assailant wiped his penis on a hotel
room washcloth and fled the scene.

After her assailant left her hotel room, Ms Tennant called hotel
security and the police were notified. Tennant gave a general physical
description of her assailant to the police. Anthony Green was a former
employee of the Cleveland Clinic whose physical description was similar to
the aasailant description provided by ‘Tennant. Green was arrested for the
Tennant rape and later identified by Tennant as her rapist and assailant.

The washcloth used by Tennant’s assailant to wipe his penis after the
sexual assault was examined by Joseph Serowick of the Cleveland Police
Department Crime Laboratory. Serowick examined both a semen stain and a
hair recovered from this washcloth.

Serowick determined that semen was present on the washcloth
employed by the assailant to wipe himself after he assaulted Jennifer
Tennant. Serowick determined that both Anthony Green and Jennifer
Tennant were ABO type B secretors. During his trial testimony Serowick
teatified that the semen originated from an ABO type B secretor. Serowick
also testified that only 16% of the Black population could be a source of the
semen and that 84% of the population would be excluded as a potential
source of the semen. Serowick’s testimony was then used by the prosecutor as
corroboration of Tennant’s eye witness identification of Anthony Green in
closing arguments. This testimony is discussed in detail at the end of this
report.

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Serowick also found a single hair on the washcloth. Despite the fact
that Tennant’s assailant used the washcloth to wipe his genitals after the
sexual assault, Serowick claimed in his trial testimony that the hair from the
washcloth “matched” the head hair from Anthony Green “in respect to color”
as well as other claimed individualizing characteristics and that this hair
originated from an individual of African ancestry. Serowick determined that
this hair was “inconsistent” with Green’s pubic hair. Serowick went on to
testify that his hair analysis failed to eliminate Anthony Green as the hair
source and that his “analysis eliminated a large percentage of the population”
as the source of the hair.

Anthony Green claimed at his trial as he does today that he is factually
innocent of the Jennifer Tennant rape and robbery. It was requested that PCR
based DNA typing be conducted to determine whether or not Anthony Green
can be eliminated as the source of the spermatozoa from the Jennifer Tennant
washcloth.

Physical Evid

The following items of physical evidence were received from Jackie
Kalonick, phlebotomist with Tri-State Phiebotomy located in Cincinnati,
Ohio, on March 15, 2001 via U.S. Certified Mail:

Item

1. Tape-sealed Genescreen envelope containing a plastic swab holder
labeled “Anthony M. Green" containing two swabs. The letter of
transmittal indicates that this is an oral reference sample from
Anthony Green.

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The following items of physical evidence were received from John
Chmielewski, Director of the Criminal Division for the Cuyahoga
County Clerk of Courts located in Cleveland, Ohio, on July 9, 2001 via
U.S, Express Mail:

Unsealed envelope marked "Exhibits, State of Ohio vs. Anthony
Green, #228250” containing the following six items:

2. Paper laundry bag marked "Clinic Center Hotel" containing one white
washcloth.

3. Two 81/2" x 11" color photographs of a motel room, one photograph
marked "State's Exhibit 2" and the other marked "State's Exhibit 3".

4, One pay statement for Anthony Green from the Bolton Square Hotel
Company, with pay date 01 / 14/88, labeled "Defendant's Exhibit B”.

5. One 1985 W-2 Wage and Tax Statement for Michael Green from the
Board of Education, labeled "Defendant's Exhibit C’.

6. Five slips of paper, each signed "William D. Jordan, Sr., Foreman”.

7, Unsealed envelope marked "State's #1" containing six police mug
shots, marked “5-A” through "5-F" respectively, and seven Police
Inquiry Cards. The Police Inquiry Cards are pink index cards, each with
a small suspect photo glued to one side of the card. The cards are
marked "State's Exhibit 6-A” through "State’s Exhibit 6-G" respectively.

Examination of the Jennifer Tennant Washcloth Item 21

A washcloth collected from Jennifer Tennant at the Clinic Center Hotel
[Item 2] was submitted for examination. The packaging for this white
washcloth is illustrated in figure 1. The washcloth obverse surface is
illustrated in figure 2; the washcloth reverse surface is illustrated in figure 3.

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A large stained area on the washcloth obverse surface has been marked and
sampled in three areas during the original evidence examination at the
Cleveland Police Department Forensic Laboratory. These previously cutout
areas are illustrated in figures 2 and 3. Five discolored areas [A, B, C, D, and E]
within the marked stain were selected for further examination. These
selected areas are illustrated in figures 4 and 5. Fabric approximately 0.5 cm?
was removed from each of these stained areas [A, B, C, D, and E] and extracted.
Microscopic examination of the cellular debris revealed a moderate number
of spermatozoa and epithelial cells in each of the stained areas. DNA was
extracted from these specimens as described below.

cenetic Analysia of DNA

Several genes were amplified using the polymerase chain reaction
[PCR] and subsequently typed. These genes include the STR genes known as
Profiler Plus [D3S1358, vWA, FGA, D8S1179, D21511, 118851, D53818,
1135317, D7$820]; and amelogenin, a gene that allows sex determination.

D3S1358, vWA, FGA, D851179, D21S11, D18551, D5$818, D13$317, and
179820 are short tandem repeat [STR] genes. These genes are composed of
tandemly repeated units of a core DNA segment where the difference
between different alleles is determined by the number of core repeated units
contained within the allele. The typical size of the core unit for an STR gene
is on the order of four base pairs [bp]. The primers that recognize particular
STR genes can be labeled with a fluorescent dye so that the alleles can be
detected and quantitatively assessed after electrophoresis.

These STR genes can be grouped so that several gene systems can be
typed simultaneously from one analysis. For example, nine STR genes
(D3S1358, vWA, FGA, D8S1179, D21$11, D18S51, D5$818, D13$317, D7S820)
and amelogenin] are grouped together in a typing system called Profiler Plus.
For those genes which employ a D_S_ nomenclature, the number following
the “D” designation indicates the human chromosomal location of the gene
locus. Some of these genes employ a different nomenclature determined by
their discoverers. For example, the following STR genes are in this category:

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The vWA gene is located on chromosome 12. The FGA gene is located on

chromosome 4.

The amelogenin gene is located on the sex determining X and Y
chromosomes. Amelogentin is a gene responsible for the synthesis of a
protein associated with fetal tooth bud development. A portion of this gene
on the X chromosome contains a 6 bp deleted DNA segment allowing this
region of the X chromosome to be distinguished from the corresponding
region of the Y chromosome by size. Since females possess two X
chromosomes and males possess an X and a ¥ chromosome, the sex of a
specimen source can be determined by examining this DNA region using
electrophoresis.

Genetic analysis of the specimens in this case involved the following
essential steps:

1, Epithelial cells were digested with SDS and proteinase K followed by
digestion of spermatozoa with SDS, proteinase K, and DTT
(dithiothreitol]. Blood was digested with SDS and proteinase K.

>. DNA was extracted from sample digests with chloroform/ phenol and
concentrated using Centricon molecular filters.

3. The various genes described above were amplified using the
Polymerase Chain Reaction [PCR].

4. The STR genes and amelogenin were typed using capillary
electrophoresis.

The results of this analysis are summarized in Table 1. These findings
revealed the following observed facts:

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Reference Samples

1. Anthony Green was determined to be D3S1358 type 15,17; vWA type
16,17; FGA type 24,25; 1881179 type 11,12; D21S11 type 28,30; D1 8551
type 17,18; 1055818 type 8,12; 1138317 type 14,14; and D7S820 type 10,10.
This DNA was also determined to originate from a male by analysis of

the amelogenin gene. -

Spermatozoa from the Jennifer Tennant Washcloth
ItemzZ

2. The DNA from spermatozoa recovered from the Jennifer Tennant
washcloth [Item 2] in areas A, B, C, D, and E was determined to be
13S1358 type 16,17; VWA type 15,19; FGA type 19,25; D8S1179 type 14,14,
D21$11 type 31,31.2; D18551 type 14.2,19; D5$818 type 11,12; D13S317 type
9,13; and D7S$820 type 8,10. This DNA was also determined to originate
from a male by analysis of the amelogenin gene. This array of
genotypes occurs in significantly less than one out of 100,000 members
of the population. The calculated genotype frequencies indicate that it
is unlikely that more than one human being has ever possessed this
particular genotype array. The frequencies associated with individual
genotypes are summarized in Appendix 1 below.

3. Anthony Green is eliminated as the source of the spermatozoa from the
Jennifer Tennant washcloth [Item 2] in areas A, B, Cc, D, and E.

4, The genetic profile from Jennifer Tennant can be inferred from the
female epithelial cell DNA commingled with spermatozoa on the
Tennant washcloth [Item 2]. Based on an analysis of these female
epithelial cells, Jennifer Tennant was determined to be 0351358 type
16,16; vWA type 15,18; FGA type 20,25; D8S1179 type 11,14; D21511 type
28,29; D18951 type 13,16; D5S818 type 11,13; D138317 type 8,12; and
1D7S820 type 9,11. This DNA was also determined to originate from a
female by analysis of the amelogenin gene.

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All of the DNA recovered in the non sperm fractions from washcloth
areas A, B, C, D, and E contain DNA from Jennifer Tennant or from.
Jennifer Tennant commingled with the sperm source described above.

A highly discriminating genetic profile of the spermatozoa source on
the Jennifer Tennant washcloth has been obtained. These spermatozoa
originate from a single male with a genetic profile that is expected to be
unique in the human population. This genetic profile can be
employed to search local and national violent offender libraries to
correctly identify Jennifer Tennant's assailant.

rhe Fovansie Sexology Evidence af Jaseph Serowtic

The eye witness identification of Anthony Green was corroborated at
trial by the testimony of Joseph Serowick, an employee of the
Cleveland Police Department Laboratory. Jennifer Tennant had stated
to police that she had been assaulted by a Black male who forced her to
have vaginal intercourse on her hotel room bed. According to
Tennant the assailant ejaculated during this rape and then went into
Tennant’s bathroom and wiped off his genitals with a washcloth and
then fled the scene!. This scenario painted a clear expectation for the
presence semen commingled with Jennifer Tennant’s vaginal
secretions on this washcloth.

Serowick found a large stain on the washcloth collected from the Clinic
Center Hotel, Exhibit 1. He circled this stain and then examined it.
Initially he conducted an acid phosphatase screening test to look for
semen; this test was followed by a p30 crossover electrophoresis
“confirmatory” test for semen. Serowick did not describe a microscopic
examination of the cellular material in the washcloth stain; nor did he
report a quantitative acid phosphatase or p30 assay to estimate the

1 Investigation Report Dated May 30, 1988, by Officer Burnet.

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semen concentration in his preparations from the washcloth stain? .
His trial testimony left the impression that the semen stain on the
washcloth was a neat semen stain rather than a semen stain
commingled with the vaginal secretions of Jennifer Tennant even
though he knew or should have known the opposite to be the case.

9, Following the identification of semen on the washcloth, Serowick
conducted an ABO typing analysis- ABO B and H blood group
substances were detected in the washcloth stain. Prior to conducting
the ABO typing analysis on the washcloth stain, Serowick had
conducted an ABO typing analysis on saliva from Jennifer Tennant
and Anthony Green. This analysis revealed that both Jennifer Tennant
and Anthony Green were ABO type B secretors. This work was tersely
described in laboratory reports dated June 6, 1988 [Green] and June 8,
1988 [Tennant].

10. Despite knowing that Jennifer Tennant was an ABO type B secretor and
despite knowing that the deposits on the washcloth were commingled
with Jennifer Tennant’s vaginal secretions by her own account to
police, Serowick claimed in his sworn trial testimony that his ABO
findings revealed that the semen originated from a secretor with ABO

type B blood? .
2 TT 216-218.
3 Q: Was the person that deposited that seminal fluid on that wash rag a secretor?

A: Yes, he was.

Q: Okay. And to be sure now $0 the jury understands your probabilities, four out of five
people are secretors; is that correst?

A: That's correct.

Q: And this individual was a secretox?

A: Yes, he was. [TT 219]

Q: And which ABO substances were in this seminal fluid on State's Exhibit 1?

A; [found B antigens and also H antigens, which is consistent with a B blood, which is
conducive to a B type.

Q: So from your testing are you able to determine with scientific certainty what type of
blood the secretor was who deposited the seminal fluid on State’s Exhibit 1, the washcloth?

A: Yes, | was.

Q: What was his blood type?

A: The ABO type of the donor of the seminal fluid was type B. [TT 220}

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11. Serowick went on to testify that ABO type B secretors occur in.
approximately 16% of the population and that 84% of the population
would be unable to deposit the seminal fluid on the washcloth as a
consequence of his ABO typing analysis¢ .

12. Serowick also testified that he knew that Jennifer Tennant was an ABO
type B secretor. Yet, he further asserted that the ABO type of the semen
on the washcloth was from an ABO type B secretor because he knew he
was testing only semen rather than semen commingled with the
vaginal secretions from Jennifer Tennant. Serowick had no scientific
basis for this assertion, nor did he present any such evidence at trial.

13. Serowick either knew or should have known that the deposit on the
washcloth [State’s Exhibit 1] was a commingled specimen containing
semen from Jennifer Tennant’s assailant and vaginal secretions from
Jennifer Tennant herself. He knew this because Jennifer Tennant
stated to the detectives that interviewed her that her assailant wiped
his genitals with this wash cloth after vaginal intercourse with her.

4 ©: And you have already deacribed that 80 percent are secretors. Based on those two,
what portion of the general population does a B secretor eliminate as far as blood type?

A: AB secretor constitutes approximately 16 percent of the population.

Q: So if we understand you correctly, sir, that 64 percent of the population, male
population would be unable to deposit that seminal fluid on State’s Exhibit 1?

A: That is correct. [TT 220-221}

3 Q: Now, did you have an occasion to learn, through me, through medical records or
whatever -- or did we submit, [don’t recall - the blood type of Jennifer Tennant?

‘A: Jennifer Tennant submitted a saliva sample, which was taken by myself. And I
tested the saliva, her saliva, for the presence of ABO antigens. And! determined that she was
a secretor of ABO type B.

CQ: So by coincidence the victim is also a B secretor?

A: That is correct.

Q: And the defendant Anthony Green ig a B secretor by your testing?

A: Through the blood samples and saliva samples submitted by the defendant, he was
determined to be indeed a type B secretor.

Q: Allright. You determined, you said you determined earlier from the blood type of
the depositor of the seminal fluid on the rag to be a B secretor, was that a male or a female who
deposited the seminal fluid which you tested?

A: A female cannot produce or secrete seminal fluid; therefore, a male must have
secreted that particular body fluid.

Q: Do you have an opinion, pased on the same factors listed before, as to the type of
blood, an ABO type, that the secretor who deposited the seminal fluid on State’s Exhibit
Number 1 was, blood type?

A: The blood type of the man who deposited this particular serninal stain was type B.
[VT 221-222)

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Furthermore Serowick could have readily verified the commingled
nature of this stain by conducting 4 normally employed microscopic
examination of the cellular debris in this stain which would have
revealed spermatozoa commingled with epithelial cells.

14. The prosecutor exploited Serowick’s testimony in his closing argument
to corroborate the eye witness ‘dentification of Anthony Green by
Jennifer Tennant in the following way:

This individual [Anthony Creen] is picked up, he matches
the description exactly. But before he is picked up she
[Jennifer Tennant] makes a positive identification from a
photo lineup. [TT 458]

Now the calling card. Think of the weight of the
evidence, and the scientific evidence. If this were 20 years
ago or certainly 50 years ago, you wouldn't have the blood
and hair, the serology and hair analysis and toxicology
certainly were not sophisticated enough for testimony.
This would be all you had in ajury trial 20 years ago. And
think about it now. Think about you have blood work.
The blood work eliminates 84 percent of the male
population of possible suspects. This is probability, it
eliminates 86% percent, there is only 14 percent of the
male population left that could have done this crime. Out
of the 14 percent, you will find that we have the hair
analysis. And all the major and minor characteristics
were the same. [TT 462]

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j ’ ‘bit 1. This is so because all of the
B and H blood group substances detected by Serowick in this stain could
have originated from the vaginal secretions of Jennifer Tennant. Thus
the semen source could have been a non secretor or a secretor of any
ABO blood group type. ~

The only scientific mechanism by which Serowick could eliminate
anyone as the contributor to this commingled semen stain based on an
ABO typing analysis would be to demonstrate either through
quantitative acid phosphatase or p30 assays that the concentration of
semen in stain extracts was sufficiently great that the ABO blood group
substances from secretora would normally be detected given the
sensitivity of his ABO antigen assay. Serowick failed to conduct such
tests. In fact, itis not even clear that his ABO test procedure employed
cell free stain extracts. .

Even if Serowick had conducted quantitative assays to estimate the
semen concentration in the stain extract and employed an
appropriately sensitive assay for ABO blood group substances, the only
ABO types that could be eliminated as possible semen sources are
individuals who are A secretors and AB secretors. Insucha
circumstance [which do not exist from the analysis conducted by
Serowick in this case], the semen source could be either a non secretor
[20% ], an O secretor {40%], or a B secretor [18%]. Therefore, 78% of the
Black male population would be potential contributors to the semen
from the commingled stain on the washcloth State's Exhibit 1. Thus,
only 22% of the Black male population could be eliminated as the
source of this semen rather than the 84% to 86% claimed by Serowick
and the prosecutor.

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18. To state or assert by innuendo that the stain on the washcloth was a
neat semen deposit without proof was scientifically irresponsible. To
atate or assert without proof that ABO blood group substances originate
from semen when those same ABO blood group substances are not
foreign to the female in a semen. deposit commingled with the female's
own vaginal secretions misled the jury.

19. Serowick either knew or should have known that his conventional
genetic marker analysis failed to reveal demonstrable genetic traits
from the semen source because at the time of his trial testimony in
1988 it was well known within the forensic science community that in
commingled sexual assault evidence, such as the evidence in this case,
the only genetic traits that can be scientifically proven to originate from
the semen are those traits which could not be contributed by the
victim.6 This universally accepted scientific principle is reflected in the
State of California’s own j i iforni
Protocol for Examination of Sexual Assault and Child Sexual Abuse
Victims published by the Office of Criminal Justice Planning.
Contained within that California state document is a chapter authored
by Jan Bashinski, the current bureau chief of the DOJ Bureau of
Forensic Services. That chapter entitled “Sexual Assault Evidence and
the Criminalistics Laboratory” states, in part, the following:

The fact that semen evidence in sexual assault cases is often
mixed with other secretions complicates the interpretation of
the genetic typing results. The potential contribution of the
victim’s own secretions to the genetic typing results must be
taken into account, in addition to considering the possible
presence of mixtures of semen from multiple assailants or
from recent consensual intercourse.

6 The only exception to this general rule for the interpretation of sexual assault evidence occurs
in the situation where one can prove through testing that the semen concentration in semen stain
oxtracts is sufficiently concentrated that one would be certain to detect the ABO antigens from a
secretor. In this circumstance the failure to detect an ABO antigen provides proof that an
individual whose ABO type is reflected by the non detected ABO antigen is absent from the
semen deposit.

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pe semen evidence the label a

general population to avoid the inference of identity, [p. 149-
150, emphasis added]

In summary, Serowick failed to notify the prosecutor or the trial jury
that the conventional genetic marker traits found in the commingled
semen stain evidence could all have been attributable to the victim,
and as a consequence they could not be proved to be attributable to the
semen source. Serowick improperly implied by innuendo and without
scientific proof that the commingled stain on the wash cloth was a neat
semen stain from Jennifer Tennant’s assailant. Serowick then
provided frequency information that stated that only 16 percent of the
population could be the source of the semen. The prosecutor then
incorrectly employed this evidence to assert that Serowick’s semen
analysis was corroborative of Tennant’s eye witness identification of
Anthony Green because Serowick’s analysis would have eliminated
84% to 86% of the population of individuals falsely accused of this
sexual assault. This entire line of proof misled the jury concerning the
scientific significance of Serowick's laboratory examinations.

Should you have any questions concerning this work, please contact

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PML
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Alan Keel Cfiminalist

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Appendix 1:

2381358, YWA, FGA, D8S1179, D21511, D1sSo1.
58818, 0138317. and D75820 Genotypes

Item 24. Spermatozoa from Washcloth, Area A.
Item 2B. Spermatozoa from Washcloth, Area B.
Item 2C. Spermatozoa from Washcloth, Area C.
Item 2D. Spermatozoa from Washcloth, Area D.
Item 2E. Spermatozoa from Washcloth, Area E.

| Marker Type ‘Frequency in | Frequency in Frequency in |
Caucasians Blacks Mexican Americans
D3S1358 16,17 0.1116 0.1343 0.0653
VWA | 15,19 0.0172 0.0222 0.0124
FGA 19,25 <0.01 0.0112 0.0251
Ds851179 14,14 0.0231 0.1230 0.0715 4
D21S11 { 31,31.2 0.0140 0.0116 0.0129
D18s51 } 142,19 <0.01 <0.01 <0.01 |
D55818 11,12 0.2560 0.1531 0.2552
D13$317 9,13 0.0133 <0.01 0.0412
D7s820 | 8,10 0.0795 0.1199 0, 0612
Cam ative 101 3.8 10-13.1 10-12.9 |
eciprocal T/59 trillion 1/11 trillion 1/8 trillion
Frequency

1. Frequency estimates for the Profiler Plus STR genes are based on a study
of 200 Caucasians, 201 Blacks, and 202 Mexican Americans conducted by
the Serological Research Institute; and a study of 200 Caucasians and
195 Blacks conducted by Applied Biosystems Division.

2. All individual genotype frequencies less than 1% [0.01] were rounded
up to 1% [0.01).

3. The population of the Earth is estimated to be approximately 6 billion

individuals. The total number of human beings who have ever lived
ig estimated to be 8 billion individuals.

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PCR Based Analysis of STR Genes
from

Item 1. Anthony Green.

Item 2A. Washcloth, Area A.

Item 2B. Washcloth, Area B.

Item 2C. Washcloth, Area C.

Item 2D. Washcloth, Area D.
Item 2E. Washcloth, Area E.

. Case: 1:03-cv-00906-JG
pasos! : L D
gg/21/22a1 13:31 3! oe oc #: 1-1 Fileck; Q5(G/03 20°F 29. PagelD #: 37PAGE 21

pie. 00-731 Pros 8/7/01 Blue 3:43:52 PM Fri, Aug 17, 2001

>RISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0

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apie. 00-731 Pro+ 8/7/01 Blue 93:43:53 PM Fri, Aug 17, 2001
PRISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0
Pro+PCR19 24 Blue O0-73112BIWasheloth, sperm oo
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\. 00-731 Pro+ 8/7/01 Biue 3:43:59 PM Fri, Aug 17, 2001
RISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0

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Pro + PCR 4

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58 Blue

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00-731 Pro+ 8/7/01 Green

Case:,}:03-cy,09906-JG Doc #: 1-1 Fileg@asQb/Laf03 250f 29. PagelD #: 40 Page 26

3:44:42 PM Fri, Aug 17, 2001

PRISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0
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00-731 Pro+ 8/7/01 Green 3:44:43 PM Fri, Aug 17, 2001

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Genatyper® 2.0

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Pro+PCR18  23Green 00-731I2BIWashcloth, EC

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Pro + PCR 19

Pro + PCR 20

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0-73" 1 leDIWashe oth
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88/21/2081 Casey,1:03<94-99906-JG Doc #: 1-1 Filegir@5/He/03 25°Df 29. PagelD#:42Pacz 26

ABA. 00-731 Pro+ 8/7/01 Green 3:44:43 PM Fri, Aug 17, 2001
PRISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0
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For research use only -3- Not for use in diagnostic system:

~ Case.,1:03-c\g, + : i
99/21/2001 A965 1:03-Gy,00906-JG Doc #: 1-1 Filegin@5(03 26Df 29. PagelD #: 43Pace 27

ABs. 00-731 Prot 8/7/01 Yellow 3:45:17 PM Fri, Aug 17, 2001
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08/28/2681 Cagesil:03 2499906-JG Doc #: 1-1 Filecki@5/14403 27 df 29. PagelD #: 44 Pace 28

AB F. 00-731 Pro+ B/7/01 Yellow 3:45:17 PM Fri, Aug 17, 2001
PRISM Licensed to EDWARD T. BLAKE, FORENSIC SCIENCE ASSOCIATES Genotyper® 2.0

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- pa/21/ 2021 CAGE a: 03-Sy_99906JG Doc #: 1-1 Fileda;Q5/La¥03 28 f 29. PagelD #: 45 Pace 29

ABLE.
PRISM

00-731 Pro+ 8/7/01 Yellow

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4:45:17 PM Fri, Aug 17, 2001

ENCE ASSOCIATES Genotyper® 2.0

Pro + PCR

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For research use only

Not for use in diagnostic syster

08/21/2821

Cage; 11:03-54,99906-JG Doc #: 1-1 Filagkrm@5(ka/03 25°F 29.

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FIGURE 1

ITEM 2
WASHCLOTH FROM
JENNIFER TENNANT
PACKAGING

PagelD #: 46PAGE 32
